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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

     INVENSAS CORPORATION,                             §
                                                       §
                     Plaintiff,                        §     Case No. 2:17-cv-00670-RWS-RSP
                                                       §
     v.                                                §
                                                       §
     SAMSUNG ELECTRONICS CO., LTD.,                    §
     SAMSUNG ELECTRONICS AMERICA,                      §
     INC.,                                             §
                                                       §
                     Defendants.                       §
 .
                                                   ORDER

            For the reasons explained at the hearing on June 13, 2018, Invensas’ motion to compel,

     ECF No. 84, is GRANTED IN PART and DEFERRED IN PART. Samsung is ordered to produce

     the discovery Invensas requested related to (1) chips packaged using Samsung’s internally named

     “2-Layer” substrates; and (2) documents Invensas requested related to the 14 nm chips. The motion

     to compel is granted to that extent. Resolution of the issue regarding the final category of discovery

     requested by Invensas is deferred pending the parties’ negotiations related to a representative

     product stipulation.
            SIGNED this 3rd day of January, 2012.
            SIGNED this 15th day of June, 2018.




                                                           ____________________________________
                                                           ROY S. PAYNE
                                                           UNITED STATES MAGISTRATE JUDGE
